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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )               CASE NO.CR02-374C
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    CARLOS GARIBAY DEL TORO )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Count I: CONSPIRACY TO DISTRIBUTE COCAINE, HEROIN, AND
18            METHAMPETAMINE - Title 21, U.S.C., Section 841(a)(1), 841(b)(1)(A), and
19            846
20            Count XI: POSSESSION OF HEROIN WITH INTENT TO DISTRIBUTE - Title
21            21, U.S.C., Sections 841(a)(1) and 841(b)(1)(A), and Title 18, U.S.C., Section 2
22 Date of Detention Hearing: August 19, 2005.
23            The court, having conducted an uncontested detention hearing pursuant to 18
24 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
25 hereafter set forth, finds that no condition or combination of conditions which the Defendant
26 can meet will reasonably assure the appearance of the Defendant as required and the safety


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 1 of any other person and the community. The Defendant was represented by Paula Deutsh.
 2 The Government was represented by Kelly Neumeister.
 3
 4       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 5 (1)      There is probable cause to believe the Defendant committed the offense in this
 6          case. The maximum penalty for this offense is in excess of ten years.
 7          Therefore, there is a rebuttable presumption against the Defendant’s release
 8          based upon both dangerousness and flight risk, under 18 U.S.C. § 3142(e).
 9 (2)      The Defendant is viewed as a risk of nonappearance due to the following
10          factors: he has been wanted for the instant offense since December 13, 2002; he
11          was not interviewed and his ties to the district are unknown; he has an
12          outstanding misdemeanor warrant; the Bureau of Immigration and Customs
13          Enforcement has filed a detainer; and he has a history of failing to appear in
14          court.
15 (3)      Furthermore, the Defendant is viewed as a danger to the community due to the
16          nature of the instant offense.
17 (4)      The Defendant did not contest detention.
18 (5)      Based upon the foregoing information, it appears that there is no condition or
19          combination of conditions that would reasonably assure future Court
20          appearances and/or the safety of other persons or the community.
21
22           It is therefore ORDERED:
23          (l)      The Defendant shall be detained pending trial and committed to the
24                   custody of the Attorney General for confinement in a correction facility
25                   separate, to the extent practicable, from persons awaiting or serving
26                   sentences or being held in custody pending appeal;

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 1         (2)   The Defendant shall be afforded reasonable opportunity for private
 2               consultation with counsel;
 3         (3)   On order of a court of the United States or on request of an attorney for
 4               the Government, the person in charge of the corrections facility in which
 5               the Defendant is confined shall deliver the Defendant to a United States
 6               Marshal for the purpose of an appearance in connection with a court
 7               proceeding; and
 8         (4)   The clerk shall direct copies of this order to counsel for the United
 9               States, to counsel for the Defendant, to the United States Marshal, and to
10               the United States Pretrial Services Officer.


                                                    A
11         DATED this 25th day of August, 2005.
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13
                                                    Monica J. Benton
14                                                  United States Magistrate Judge

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